                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:07cr154

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
KATHLEEN GIACOBBE                        )
________________________________________ )


       THIS MATTER is before the Court upon the government’s motions for revocation of a

magistrate’s release order (Doc. No. 19) and for detention (Doc. No. 48), pursuant to 18 U.S.C. §§

3142 and 3145(a). The Court previously granted the government’s motion to stay the release

order (Doc. No. 18) pending review (Doc. No. 20).

       On August 10, 2007, the Court held an evidentiary hearing where both parties presented

evidence. At the conclusion of the hearing, and a de novo review of the record in this case, the

Court found that a combination of conditions would reasonably assure the safety of any other

person and the community and the appearance of the defendant as required. 18 U.S.C. § 3142(f).

However, the Court determined that the following conditions in addition to those imposed by the

magistrate judge are required to achieve that result.

       IT IS, THEREFORE, ORDERED that, in addition to the conditions of release

previously imposed, the defendant must:

       1.      submit to a drug treatment program under the guidance and supervision of the U.S.

               Probation Office. The defendant shall bear the cost of such program and remain in

               treatment and maintain any prescribed medications until satisfactorily discharged

               by the program and with the approval of the U.S. Probation Office;



     Case 3:07-cr-00154-RJC-DSC             Document 52      Filed 08/13/07      Page 1 of 2
       2.        refrain from any business that involves the use of the Internet. Additionally, the

                 defendant is prohibited from engaging in any business involving medical products,

                 including, but limited to, prescription drugs; and

       3.        be subject to home confinement with electronic monitoring. The defendant is

                 restricted to her residence at all times except for employment; education; religious

                 services; medical, substance abuse, or mental health treatment; attorney visits;

                 court appearances; court-ordered obligations; or other activities as pre-approved by

                 the U.S. Probation Office. The defendant may be released from detention and

                 travel to Vermont before the establishment of electronic monitoring, but

                 compliance with this condition must be accomplished without undue delay.

       The penalties for violating any condition of release are stated in the magistrate judge’s

release order.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the U.S.

Probation Office.

                                                    Signed: August 10, 2007




                                                   2


     Case 3:07-cr-00154-RJC-DSC              Document 52        Filed 08/13/07     Page 2 of 2
